Case 2:15-cr-20652-GCS-DRG ECF No. 1675 filed 09/09/20         PageID.23085     Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.                                           Case No. 15-20652
                                                HON. GEORGE CARAM STEEH
  ARLANDIS SHY (D-13),

       Defendant(s).
   _________________________________________________________________

          NOTICE OF FILING TRANSCRIPTS OF TRIAL EXHIBITS

        Pursuant to the Trial Court’s Order (Doc. 1671, 8/26/20), the transcripts of

  the government’s audio-video Exhibits 61, 62, 65, 66, and 189, which were

  admitted at trial and entered into the District Court record (Doc. 1674, 8/27/20),

  are hereby filed with the Clerk of the Court. The transcripts of those exhibits were

  shown to the jury at trial and are now part of the District Court’s electronic record.

                                          Respectfully submitted,
  Dated: September 9, 2020
                                          By: /s/Mark H. Magidson
                                            MARK H. MAGIDSON (P25581)
                                            Attorney for Defendant Shy
                                            615 Griswold, Suite 810
                                            Detroit, MI 48226
                                            (313) 963-4311
                                            mmag100@aol.com




                                                                              Page 1 of 2
Case 2:15-cr-20652-GCS-DRG ECF No. 1675 filed 09/09/20         PageID.23086    Page 2 of 2




                             CERTIFICATE OF SERVICE

        I certify that on September 9, 2020, I electronically filed the above Notice of

  Filing Transcripts of Trial Exhibits, an Index of Exhibits, and the Transcripts of the

  Exhibits with the Clerk of the Court using the CM/ECF system, which will send

  notification of such filing to the parties of record.

                                           By: /s/Mark H. Magidson
                                             MARK H. MAGIDSON (P25581)
                                             Attorney for Defendant Shy




                                                                              Page 2 of 2
